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                      ARREST REPORT OBN 2022-1718/156


                     OKLAHOMA STATE BUREAU OF
                NARCOTICS AND DANGEROUS DRUGS CONTROL

                                      ARREST REPORT

Report Number: OBN 2022-1718/156                       Reporting Date: 01/10/2024
Reporting Agent: TIPTON, CORY                          Case Status: OPEN


On January 9, 2024, Agents with the Oklahoma Bureau of Narcotics
(OBN), Anti-Methamphetamine Task Force (AMTF) conducted a
surveillance operation that lead to the traffic stop and arrest of
Logan STAPLETON. During the traffic stop approximately 10,160.47
grams of suspected methamphetamine was seized. The following
report details the operation.

At approximately 1:25 P.M., Agent Tipton established surveillance
at the Hospitality Inn located at 3709 NW 39th Street, Oklahoma City,
Oklahoma. Agent Tipton observed a white Jeep Compass bearing
Oklahoma License Plate (OKLP) NXS874 parked on the east side of
the hotel. (Agent Note: this vehicle was known to be utilized by
Sarah ANNESLEY and contained a court authorized GPS tracking
device.)

At approximately 1:27 P.M., Agent Tipton observed a silver
Chrysler 200 arrive and park one spot away from the white Jeep
Compass. Agent Tipton observed a sole white male driver. Agent
Tipton observed the white male exit his vehicle and walk down the
North breeze way of the hotel. The white male was later identified as
Logan STAPLETON.

At approximately 1:30 P.M., Agent Tipton observed STAPLETON
walk from the north breeze way and enter the trunk of the silver
Chrysler 200. Agent Tipton observed STAPLETON retrieving what
appeared to be clothing but as Agent Tipton drove by he looked at
Agent Tipton and moved the clothing as if he was concealing
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something in his hand. Shortly thereafter STAPLETON closed the
trunk of the Chrysler and walked back down the breeze way. Agent
Tipton observed STAPLETON enter a door on the north building
midway down the breeze way but could not positively confirm
which door.

At approximately 1:33 P.M., Task Force Officer (TFO) Glosser
observed the silver Chrysler 200 bearing Cherokee Tribal License
plate CI8511. A law enforcement indices check determined the
registered owner as R.S.                   or Logan STAPLETON,
1209 Garden Drive, Bartlesville, Oklahoma.

At approximately 1:38 P.M., Agent Tipton observed ANNESLEY and
STAPLETON emerge from the north breeze way. Agent Tipton
observed STAPLETON place something inside the trunk of the
silver Chrysler before getting into the drivers seat. Agent Tipton
observed ANNESLEY enter the white Jeep Compass and both
departed shortly thereafter. Agent maintained surveillance on the
Chrysler 200.

At approximately 1:40 P.M., Agent Tipton observed the Chrysler
200 arrive at the Oncue, 3620 NW 39th Street, Oklahoma City,
Oklahoma. Agent Tipton observed STAPLETON go inside the
Oncue and shortly thereafter exit.

At approximately 1:53 P.M., Agent Jehle observed STAPLETON
departing the Oncue in the Chrysler 200. (Agent Note: ANNESLEY
was observed via GPS tracker arriving in the area of the Newport
Granada Apartments 3405 NW 39th Street, Oklahoma City,
Oklahoma.) Agents maintained surveillance and contacted the
Criminal Interdiction Team of Central Oklahoma (CITCO) to attempt
a traffic stop on STAPLETON.

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At approximately 2:03 P.M., CITCO developed probable cause to
conduct a traffic stop on the Chrysler 200 near Interstate 44 at the
on-ramp to southbound Broadway Extension. During the course of
the traffic stop CITCO officers developed probable cause to search
the vehicle. During the search approximately 10,101.47 grams of
suspected methamphetamine was located inside the trunk of the
Chrysler 200. The methamphetamine was contained inside clear
plastic bags which was inside a white and blue "Marshalls" bag.




After CITCO officers discovered the suspected methamphetamine
they determined they would move the traffic stop to a safer
location.

At approximately 2:23 P.M., TFO Glosser drove the Chrysler 200 to
OBN Headquarters followed by the CITCO officers. Once at
headquarters Agent Tipton and TFO Glosser conducted an
interview with STAPLETON (Ref. OBN 2022-1718/157). TFO Glosser
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collected STAPLETON's cell phone from the Chrysler 200. The cell
phone was a Motorola cell phone in a black phone case, IMEI:
358390901897234. Agent Jehle and AIC Stafford collected and
processed the suspected methamphetamine from the trunk of the
Chrysler. Agent Jehle conducted a field test of the suspected
methamphetamine, witnessed by AIC Stafford. The substance
tested presumptive positive for methamphetamine.




Agent Jehle and AIC Stafford photographed and packaged the
suspected methamphetamine using OBN seal number 095856 and
placed it into temporary drug storage.

After conducting the interview with STAPLETON, Agent Tipton
secured the Motorola cell phone inside the AMTF office where it
was placed on a charger pending a search warrant draft.
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On January 10, 2024, Agent Jehle and Agent Tipton retrieved the
seized methamphetamine from temporary storage. The seized
evidence was photographed, weighed, and placed back into
temporary storage pending the transfer to the Drug Enforcement
Administration (DEA) to be sent to the DEA lab for drug analysis.
The silver Chrysler 200 was transported to OBN warehouse by
Agent Tipton, witnessed by Agent Jehle, pending forfeiture.

STAPLETON was ultimately transported to DEA Agent Wyckoff to
DEA headquarters, witnessed by Agent Tipton, where he was
processed and placed in a holding cell. STAPLETON was later
transported to Cleveland County Jail by DEA personnel.

On January 17, 2024, Agent Tipton and Agent Jehle retrieved the
drug exhibit from temporary storage, transported to DEA
Headquarters and transferred custody to DEA Agent Wyckoff and
Agent Michael Dent (Reference attached transfer receipt).

Photographs taken during the operation are attached to this report.


End of report




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